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              [ORAL ARGUMENT NOT SCHEDULED]

                              No. 22-1269


          IN THE UNITED STATES COURT OF APPEALS
           FOR THE DISTRICT OF COLUMBIA CIRCUIT


                         GEOFFREY ORLANDI,

                                          Petitioner,

                                    v.

                  BILLY NOLEN, Acting Administrator,
                    Federal Aviation Administration,

                                          Respondent.


 On Petition for Review of an Order of the Federal Aviation Administration


                      BRIEF FOR RESPONDENT


                                         BRIAN M. BOYNTON
                                           Principal Deputy Assistant
                                             Attorney General
                                         ABBY C. WRIGHT
                                         BEN LEWIS
                                           Attorneys, Appellate Staff
                                           Civil Division, Room 7250
                                           U.S. Department of Justice
                                           950 Pennsylvania Avenue NW
                                           Washington, DC 20530
                                           (202) 514-2494
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    CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED
                         CASES

      Pursuant to D.C. Circuit Rule 28(a)(1), the undersigned counsel

certifies as follows:

      A.    Parties and Amici

      Geoffrey Orlandi appeared in proceedings before the Federal Aviation

Administration. Geoffrey Orlandi is the petitioner and Billy Nolen, acting

administrator for the Federal Aviation Administration, is the respondent in

proceedings before this Court. There are no intervenors or amici.

      B.    Rulings Under Review

      The petition before this Court reviews a final order from the Federal

Aviation Administration upholding the termination of Geoffrey Orlandi as a

designated pilot examiner. That order was issued on August 22, 2022, and

appears at page 3 of the Joint Appendix.

      C.    Related Cases

      There are no related cases.

                                             /s/ Ben Lewis
                                            Ben Lewis
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                             GLOSSARY

FAA                        Federal Aviation Administration

JA                         Joint Appendix
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                   STATEMENT OF JURISDICTION

      The Federal Aviation Administration (FAA) rescinded petitioner’s

designation on July 8, 2022, see Joint Appendix (JA) 19, and issued a final

decision upholding that decision on August 22, 2022, see JA 3. Petitioner

timely petitioned for review on October 20, 2022. See JA 1-2. This Court

has jurisdiction to adjudicate petitions for review of final decisions of the

FAA under 49 U.S.C. § 46110(a).

                     STATEMENT OF THE ISSUES

      The FAA delegates the examination of prospective pilots to

designated pilot examiners. The FAA may rescind an examiner’s

designation “at any time for any reason the Administrator considers

appropriate,” 49 U.S.C. § 44702(d)(2), so long as it follows the procedures

set forth in its internal guidelines. When the FAA rescinds an examiner’s

designation for cause, its internal guidelines direct it to document its

decision with the specific reason for the decision. If an examiner seeks

administrative review of that decision, an appeal panel of the FAA is

directed to review the file, document deliberations, and document

outcomes. The FAA rescinded petitioner’s examiner designation for cause

and denied his administrative appeal. The issues presented are the

following:
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      1. Whether the FAA followed the applicable procedures in its internal

guidelines when it terminated petitioner’s designation for cause and denied

his appeal and whether any deviation prejudiced petitioner.

      2. Whether this Court may entertain petitioner’s challenges to the

substance of FAA’s termination decision.

              PERTINENT STATUTES AND REGULATIONS

      Pertinent statutes and regulations are reproduced in the addendum to

this brief.

                    STATEMENT OF THE CASE

      A.      Legal Background

      The Federal Aviation Act authorizes the administrator of the Federal

Aviation Administration (FAA) to issue pilot certificates to qualified

individuals, 49 U.S.C. § 44703(a), “akin to a driver’s license for pilots,”

Sheble v. Huerta, 755 F.3d 954, 955 (D.C. Cir. 2014). Pursuant to the Act,

the FAA “delegate[s] . . . the examination, testing, and inspection necessary

to issue” such certificates to “qualified private person[s],” 49 U.S.C.

§ 44702(d)(1)(A), called designated pilot examiners, 14 C.F.R. § 183.23.

      These examiners “are selected, appointed, and trained to serve the

needs of the FAA in fulfilling its safety mission.” FAA, Order 8000.95B,

Designee Management Policy, vol. 1, ch. 9, ¶ 4 (Apr. 12, 2022) (FAA Order

8000.95B); JA 122. They are appointed only if “there is a need for one” by
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an official from the FAA—in general, the head of a Flight Standards District

Office. 14 C.F.R. § 183.11(b). During their service, designated pilot

examiners are supervised by an official called a managing specialist to

ensure that they “perform[] to the standards and expectations set forth by

the FAA.” FAA, Order 8000.95A, Designee Management Policy vol. 1,

ch. 6, ¶ 2 (Dec. 7, 2020) (FAA Order 8000.95A); JA 133. Designated pilot

examiners receive regular communications from the FAA through a web-

based tool called the designee management system. See FAA Order

8000.95B, vol. 1, ch. 9 ¶ 4a; JA 122. In general, designated pilot examiners

“allow[] the FAA to leverage its resources” and ensure that qualified pilot

candidates are able to obtain certificates. FAA Order 8000.95B, vol. 1, ch. 9

¶ 4; JA 122.

      Accordingly, the FAA “may rescind a delegation . . . at any time for

any reason the Administrator considers appropriate.” 49 U.S.C.

§ 44702(d)(2); see 14 C.F.R. § 183.15(b)(6). The FAA’s internal guidelines

state that rescinding a designation may be “for cause” or “not for cause.”

FAA Order 8000.95B, vol. 1, ch. 9, ¶ 4(c); JA 122. A designation may be

rescinded “for cause” for “[m]isconduct” or “[i]nability to work

constructively with the FAA,” for example. FAA Order 8000.95B, vol. 1, ch.

9, ¶ 4(c)(1); JA 123. A decision “not for cause” may occur when the FAA


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“can support the certification work or need with other existing designees.”

FAA Order 8000.95B, vol. 1, ch. 9, ¶ 4(c)(2); JA 123. An examiner whose

designation has been terminated for cause “cannot reapply for

designation.” FAA Order 8000.95B, vol. 1, ch. 9, ¶ 4(c); JA 122.

      FAA guidelines set forth the procedures governing the decision to

terminate a designation. To process a termination, the FAA “must

document termination decisions” in the designee management system with

“the specific reason(s) for the termination.” FAA Order 8000.95B, vol. 1,

ch. 9 ¶ 4(a); JA 122.

      A designee may appeal a termination for cause for “a review of the

termination for cause process.” FAA Order 8000.95B, vol. 1, ch. 11, ¶ 2b;

JA 127. In response to an appeal request, the FAA convenes an appeal

panel of FAA officials who were not involved in the original decision. FAA

Order 8000.95B, vol. 1, ch. 11, ¶ 3(b); JA 127. The panel may “[u]phold the

original termination decision whereby the original decision stands and no

further appeals are accepted,” or it may “[o]verturn the termination

decision whereby the FAA reinstates the designee.” FAA Order 8000.95B,

vol. 1, ch. 11, ¶ 2(c); JA 127. The guidelines direct the panel to “[r]eview the

appealing designee file stored in [the designee management system],”

request “additional information or clarification,” and “[d]ocument


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deliberations and outcomes in [the designee management system].” FAA

Order 8000.95B, vol. 1, ch. 11, ¶ 4; JA 127-128.

      B.    Factual Background

      1. Petitioner Geoffrey Orlandi served as a designated pilot examiner

for the FAA. See JA 26. Among other things, this work entailed

“administer[ing] a certification test” for prospective pilots. FAA, Order

8900.1, Flight Standards Information Management System vol. 5, ch. 2, §

1, ¶ 5-216 (change 418 Aug. 26, 2015) (FAA Order 8900.1); JA 105. To get a

certificate, an applicant must “demonstrate eligibility to take the test.” FAA

Order 8900.1, vol. 5, ch. 2, § 1, ¶ 5-218; JA 105-106. He must then pass a

“practical test” with “oral questioning” on the ground and a “check ride” in

the air. FAA Order 8900.1, vol. 5, ch. 2, § 1, ¶ 5-219; JA 106-117. The

examiner determines eligibility, does a ground test, and does a flight test.

      The conduct at issue in this case concerns what fees a designated pilot

examiner may charge prospective pilots. FAA guidelines direct an

examiner to “collect the fee and advise the applicant that the test has

begun” only “[o]nce eligibility is determined.” FAA Order 8900.1, vol. 5,

ch. 2 § 5-220. As petitioner acknowledges, when he conducted an

examination, he had a different “fee practice involving ineligible

applicants.” JA 7. At “the commencement of the [p]retest [b]riefing,”


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before determining eligibility, petitioner collected a non-refundable fee for

the entire examination. JA 33. This fee included the cost of the ground test

and the flight test. Id. If he determined that an applicant was not eligible

for the test, and so did not conduct a ground test or a flight test, he

nonetheless retained the entire fee. Id.; see Pet’r. Br. 4-5.

      The FAA received a hotline complaint in 2022 that petitioner “took

[a] student’s money for a check-ride that was never initiated” because he

“disqualified” the applicant as ineligible.” JA 26. In a follow-up

conversation, the complainant alleged that petitioner first “collected the

check” for the examination and then “use[d] a checklist” on eligibility

requirements to disqualify the student as ineligible. JA 30.

      The FAA suspended petitioner as a designated pilot examiner and

initiated an investigation into his conduct. See JA 22-23. Investigators

reported that petitioner acknowledged in conversations over the phone that

he “does not determine [the] eligibility of an applicant until he meets them

in person and AFTER he collects full payment for the checkride.” JA 21.

Petitioner also sent investigators his standard confirmation email, which

reflected that he collected a non-refundable fee for the entire examination

at “the commencement of [p]retest [b]riefing.” JA 33. Investigators later

spoke with a witness who confirmed that petitioner once charged hundreds


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of dollars for a check ride, found the applicant ineligible, and left with the

fee. Id.

      In further conversations with petitioner, investigators explained to

petitioner that “charging a full checkride fee to an individual who is not

eligible . . . was seen as unfair.” JA 20. It also proposed “determining

eligibility for an airman prior to [collecting the fee at] the checkride.” Id.

In those conversations, investigators reported that petitioner “was

argumentative with regards to his actions that led to the complaint and also

was unreceptive” to these proposed solutions. Id. Investigators further

reported that petitioner “stated that his fiscal practices are in part, in place

to punish” applicants who arrive without adequate proof of eligibility. Id.

      2. The FAA rescinded petitioner’s designation for cause. See JA 18.

The agency informed petitioner through the designee management system

that his designation was being revoked for “[m]isconduct” and “[i]nability

to work constructively with [the] FAA or public.” JA 17. It explained that

petitioner committed misconduct because he “was found to have collected

fees from applicants prior to determining eligibility.” JA 18. This practice

contravened FAA Order 8900.1, vol. 5, ch. 2, § 1, ¶ 5-220, the agency

explained, which directs an examiner to “collect the fee and advise the

applicant that the test has begun” only “[o]nce eligibility is determined,” JA


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118. The agency also reasoned that petitioner “charg[ed] applicants full

checkride fees when no service had been provided,” so petitioner “was not

following prescribed procedures for gain.” JA 18.

      The FAA separately concluded that petitioner had shown an “inability

to work constructively with the FAA” because “during several hours worth

of phone calls . . . he was argumentative and unreceptive to what the FAA

suggested.” JA 18. The FAA reported that petitioner “exhibited an

uncooperative attitude” and stated that his policy was “in place to teach a

lesson to the flight instructors of the applicants.” Id.

      3. Petitioner filed an administrative appeal. He argued that he did

not violate FAA guidelines because FAA Order 8900.1, vol. 5, ch. 2, § 5-219

states that a “plan of action” for a test “may be devised in any sequence

deemed appropriate.” JA 7 (quotation marks omitted). He also noted that

he was “directly observed . . . and [his plan of action] was provided to the

inspector,” but he was never “informed that [his] sequence was

inappropriate.” Id. Against the claim that he was difficult to work with,

petitioner asserted that he just offered his “defense, reasons, and

justification for the fee practice” in conversations with investigators. Id.

He argued that he could not do “the eligibility determination work prior to

the date of the practical test” because that would violate FAA Order 8900.1,


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vol. 5, ch. 2, § 1, ¶ 5-220, which he read to say that “the eligibility

determination occurs on the day of the test and only after ten other [p]re-

[t]est briefing items have been addressed.” Id.

        The appeal panel upheld the termination decision. The panel, made

up of three officials at the FAA without any connection to the proceedings,

reviewed petitioner’s file in the designee management system. See Doc. 30.

It then conducted “a review of the termination for cause process.” FAA

Order 8000.95B, vol. 1, ch. 11 ¶ 2(b); JA 127. After review, the panel

informed petitioner that “[b]ased on a review of your termination for cause,

the appeal panel was unable to find any justification to overturn the

termination of your designation.” JA 4. It therefore “upheld the original

decision” to terminate petitioner’s designation. Id.

        Petitioner sought review in this Court under 49 U.S.C. § 46110. See

JA 1.

                       SUMMARY OF ARGUMENT

        I. The FAA followed its procedures in terminating petitioner’s

designation for cause and adjudicating his administrative appeal. The

substance of the FAA’s decision to rescind a pilot examiner

designation is not reviewed on the merits because that decision is

committed to agency discretion by law. See Steenholdt v. FAA, 314


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F.3d 633, 638-40 (D.C. Cir. 2003). Instead, this Court assesses the

agency’s compliance with its own “procedural rules that limit

otherwise discretionary actions.” Id. at 639. To prevail, petitioner

must show that the FAA fell “substantially short” of applicable

procedural requirements “resulting in prejudice” to petitioner.

Sheble v. Huerta, 755 F.3d 954, 957 (D.C. Cir. 2014) (quoting Lopez

v. FAA, 318 F.3d 242, 248 (D.C. Cir. 2003), as amended (Feb. 11,

2003)).

      The FAA followed its procedural guidelines when it terminated

petitioner for cause. Because the FAA may terminate a designee for any

reason that it considers appropriate, it need only give “specific reason(s) for

the termination.” FAA Order 8000.95B, vol. 1, ch. 9, ¶ 4(a), (b)(1); JA 122.

In petitioner’s termination notice, the FAA plainly stated that petitioner’s

designation was rescinded because (i) he committed misconduct when he

collected examination fees prior to determining eligibility and kept those

fees from ineligible applicants, and (ii) he demonstrated an inability to

work constructively with the FAA when he refused alternatives to this

policy.

      The FAA also substantially complied with its appellate process when

it adjudicated petitioner’s administrative appeal. Consistent with agency


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procedure, the agency established a panel of three people who were not

involved in petitioner’s original termination decision. See Doc. 30. That

panel reviewed petitioner’s file and issued a decision within 45 days that

“upheld the original decision to terminate [petitioner’s] designation.” JA 3.

      II. Petitioner fails to point to any procedural defect that might justify

a remand.

      With respect to the FAA’s investigation and subsequent decision to

rescind his designation, petitioner argues that the FAA violated its

guidelines by inadequately monitoring his alleged misconduct during the

period where he served as a designated pilot examiner. But that contention

does not advance his cause: petitioner does not identify any alleged

procedural error, nor are the monitoring guidelines designed to protect

designated pilot examiners. With respect to the investigation itself,

petitioner asserts that he never received a promised meeting with

investigators, but the FAA’s guidelines do not require such a meeting,

investigators did not make a promise to petitioner, any promise would not

bind the agency, and petitioner fails to explain how the lack of meeting

prejudiced him. Petitioner also protests that the FAA terminated his

designation for a reason different from the one that prompted the FAA’s

investigation, but there is no rule that agency rationales cannot shift during


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an investigation (indeed, the point of an investigation is to uncover what

has happened) so long as the agency provides notice of the reasons for the

decision. In any event, the FAA’s concerns did not materially change from

investigation to decision.

      Petitioner likewise fails to allege any procedural defect during his

administrative appeal that might warrant a remand. Petitioner primarily

speculates that the appeal panel did not review his file or meaningfully

consider his arguments. The presumption of regularity forecloses such

challenges, and the record belies them, in any event. The panel reviewed

petitioner’s file, and although it did not document deliberations, it adopted

the original termination decision, so “the agency’s path may reasonably be

discerned.” Xcel Energy Servs. Inc. v. Federal Energy Regulatory

Comm’n, 41 F.4th 548, 557 (D.C. Cir. 2022) (quoting Motor Vehicle Mfrs.

Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983)). Nothing

more was required.

      III. Petitioner’s substantive challenge to his termination decision is

unreviewable, and in any event, meritless. Under this Court’s settled

precedent, the substance of the FAA’s determination to rescind a

discretionary delegation is not subject to review. Petitioner offers no reason

to depart from this settled rule.


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      Even were this Court to consider the substance of the agency’s

decision, it would be upheld. The agency reasonably concluded that

petitioner committed misconduct because he collected fees from applicants

before determining eligibility and kept those fees, even from ineligible

applicants, in violation of FAA guidelines. And the conclusion that

petitioner could not work constructively with the FAA was also reasonable

and supported by the record. Investigators reported from multiple

conversations with petitioner over the phone that he was argumentative

and unreceptive to the FAA’s suggestions. As designees are an extension of

the FAA and a reflection on the agency, such conduct may justify revocation

of the delegation of FAA’s authority.

                        STANDARD OF REVIEW

      On a petition from a final order from the FAA terminating a

designation, this Court does not review the substantive merits of the

termination decision because that decision is committed to agency

discretion by law. See Steenholdt v. FAA, 314 F.3d 633, 638-40 (D.C. Cir.

2003). In reviewing a procedural challenge, the Court asks whether the

agency “fell substantially short” of the applicable procedures and whether

noncompliance “result[ed] in prejudice.” Lopez, 318 F.3d at 248 (quoting

Vitarelli v. Seaton, 359 U.S. 535, 545 (1959)).


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                            ARGUMENT

I.    The FAA followed required procedures when it
      terminated petitioner as a designated pilot examiner.

      As this Court has explained, FAA decisions regarding its delegated

authority are not subject to review on the merits. Sheble v. Huerta, 755

F.3d 954, 957 (D.C. Cir. 2014); infra 29-33. Because the substance of the

termination decision is committed to agency discretion, when reviewing a

challenge to that decision, the Court looks only to the agency’s own

“procedural rules that limit otherwise discretionary actions.” Steenholdt v.

FAA, 314 F.3d 633, 639 (D.C. Cir. 2003) (citing Accardi v. Shaughnessy,

347 U.S. 260 (1954)). A petitioner must identify binding rules “intended

primarily to confer important procedural benefits upon individuals in the

face of otherwise unfettered discretion.” Lopez v. FAA, 318 F.3d 242, 247

(D.C. Cir. 2003) (quoting American Farm Lines v. Black Ball Freight Serv.,

397 U.S. 532, 538 (1970)), as amended (Feb. 11, 2003). And to prevail, he

must show “that the FAA ‘fell substantially short’ of the applicable

procedural requirements, ‘resulting in prejudice to him.’” Sheble, 755 F.3d

at 957 (quoting Lopez, 318 F.3d at 248).

      A. In terminating petitioner’s designation for cause, the agency

followed all applicable guidelines. Because the agency may terminate a

designee for any reason that it considers appropriate, FAA Order

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8000.95B, vol. 1, ch. 9, ¶ 4(c); JAA 122-124; see also 14 C.F.R. § 183.15;

Steenholdt, 314 F.3d at 638, its guidelines only require it to give a designee

the “specific reason(s) for the termination,” FAA Order 8000.95B, vol. 1,

ch. 9, ¶¶ 4(a), 4(b)(1); JAA 122 (“Termination decisions must be formally

documented in [the designee management system], to include the specific

reason.”).

      The FAA provided petitioner with the specific reasons for its decision

to terminate petitioner’s status as a designated pilot examiner. As

explained, petitioner had a practice of collecting the entire fee for a pilot

examination before determining eligibility and refused to refund any part of

that fee if the candidate turned out to be ineligible for the flight test. JA 33.

In petitioner’s termination notice, the FAA stated that petitioner committed

“[m]isconduct” when he collected examination fees “prior to determining

eligibility,” and kept those fees even when he did not have to perform a

flight test because he found an applicant ineligible. JA 18. It explained that

his practice was “contrary to guidance,” specifically, FAA Order 8900.1, vol.

5, ch. 2, § 1, ¶ 5-220. That guidance directs an examiner to “collect the fee

and advise the applicant that the test has begun” only “[o]nce eligibility is

determined.” Id.; see JA 118. As a further rationale, the FAA emphasized




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for petitioner that it was generally improper to charge ineligible applicants

“full checkride fees when no service had been provided.” JA 18.

      In addition, the FAA stated that petitioner had shown an “inability to

work constructively with the FAA” because “during several hours worth of

phone calls . . . he was argumentative and unreceptive to what the FAA

suggested.” JA 18. As explained, it reported that he “exhibited an

uncooperative attitude” and that he stated that his policy was “in place to

teach a lesson to the flight instructors of the applicants.” Id.

      That the FAA provided “specific reasons” for its decision is confirmed

by petitioner’s contemporaneous understanding of the reasons for his

termination, as reflected in his filings during administrative proceedings.

Before the agency, petitioner summarized that he was terminated for

misconduct because he “utilized a fee practice involving ineligible

applicants,” noting that the FAA relied on ¶ 5-220 of FAA Order 8900.1 to

proscribe “collect[ing] fees from applicants prior to determining eligibility.”

JA 7 (quotation marks omitted). Petitioner also understood that he was

terminated because he would not take the FAA’s directions with respect to

alternatives to the policy. In his administrative appeal, he described how

he rejected the FAA’s recommendation that he “utilize email and virtual

means to determine eligibility prior to the day of the checkride.” Id.


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(quotation marks omitted). Since petitioner received the specific reasons

for his termination, the FAA appropriately processed his termination.

      B. The FAA likewise followed applicable procedures when it denied

petitioner’s administrative appeal. FAA guidelines permit a designee

terminated for cause to appeal for a “review of the termination for cause

process.” FAA Order 8000.95B, vol. 1, ch. 11, ¶ 2(b); JA 127. If a designee

appeals, the FAA must establish an appeal panel that “consist[s] of two or

three individuals[] . . . who were not involved in the original decision.” FAA

Order 8000.95B, vol. 1, ch. 11, ¶ 3(b); JA 127. The panel must then

“complete the appeal process within 45 calendar-days of receiving the

appeal request.” FAA Order 8000.95B, vol. 1, ch. 11, ¶ 2(d); JA 127. The

panel is directed to “complete[] the following tasks”: “[r]eview the

appealing designee file stored in [the designee management system]”;

“[c]ontact the managing specialist, evaluation panel lead, appointing

official, and/or selecting official for additional information or clarification”;

and “[d]ocument deliberations and outcomes in [the designee management

system].” FAA Order 8000.95B, vol. 1, ch. 11, ¶ 4; JA 127-128. It may

“[u]phold the original termination decision whereby the original decision

stands and no further appeals are accepted” or “[o]verturn the termination




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decision whereby the FAA reinstates the designee.” FAA Order 8000.95B,

vol. 1, ch. 11, ¶ 2(c); JA 127.

      The FAA substantially complied with these procedures. When

petitioner appealed, the agency established a panel of three individuals who

were not involved in his original termination decision. See Doc. 30. The

panel reviewed petitioner’s file to resolve the appeal. See id. Within 45

days, the panel issued a decision. See JA 3. That decision, properly

documented in the designee management system, “upheld the original

decision to terminate [petitioner’s] designation.” Id.

II.   Petitioner’s challenges to his termination process fail.

      A. Before this Court, petitioner does not identify any alleged

procedural deficiency in the FAA’s termination notice itself. Instead, he

alleges scattershot procedural deficiencies by the agency during the

investigation into his conduct before his termination: that the FAA failed to

monitor him appropriately; promised him an in-person meeting that never

came to pass; and changed its termination rationale throughout.

      1. As an initial matter, petitioner did not assert that the FAA violated

any procedural guidelines on these grounds during his administrative

appeal. Before the agency, petitioner argued only that the agency failed to

give him “specific reasons” for his termination and that the agency’s


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grounds were not “legitimate.” See JA 7 (citing FAA Order 8000.95A, vol.

1, ch. 9, ¶ 4(a), (b)(1)). Accordingly, the Court may not consider other

belated objections regarding other alleged procedural deficiencies. See 49

U.S.C. § 46110(d); Wallaesa v. FAA, 824 F.3d 1071, 1077-78 (D.C. Cir.

2016) (declining to consider new issues that pro se party did not present to

agency).

      2. Regardless, petitioner’s objections fail on their own terms.

Petitioner argues (at 57) that the FAA’s termination decision should be

remanded because the FAA violated its guidelines by inadequately

monitoring his alleged misconduct during his time serving as a designated

pilot examiner. That challenge fails because it does not identify any FAA

guideline affecting petitioner’s rights. A procedural challenge from a

designee can succeed only where the FAA violates procedures “aimed at

protecting the [designee] from the Administrator’s otherwise unlimited

discretion.” Lopez, 318 F.3d at 247-48.

      The FAA’s oversight guidelines assign to FAA managing specialists

the responsibility to supervise designated pilot examiners. For example,

managing specialists assess “compliance with regulatory requirements,

guidance, policy requirements, and safe operating practices.” FAA Order

8000.95A, vol. 1, ch. 6 ¶ 2(b)(3); JA 133. That supervision is only intended


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to “promote safety” and “ensure that the designee performs to the

standards and expectations set forth by the FAA.” FAA Order 8000.95A,

vol. 1., ch. 6, ¶ 2(a); JA 133. It does not give rights to designated pilot

examiners who have gone unsupervised. Cf. Barrie v. FAA, 16 F. App’x

930, 934 (10th Cir. 2001) (unpublished order) (denying procedural claim

from aircraft operator where procedures did not “exist to protect the rights

of aircraft operators”).

      In any event, petitioner has not stated a violation of any applicable

FAA guideline on monitoring designees. Petitioner alleges (at 58) that his

managing specialists “review[ed] his plan of action” and “watch[ed] him

implement his plan of action,” but “failed to note that [he] was conducting

his pre-test briefing in an impermissible order.” The failure to

independently identify misconduct in a particular instance does not,

without more, contravene the FAA’s oversight guidelines. See generally

FAA Order 8000.95A, vol. 1, ch. 6; JA 133-139. That is especially the case

here, where it is not apparent that FAA managing specialists ever observed

petitioner’s fee policy for ineligible applicants in action. Petitioner was

terminated because he collected examination fees prior to determining

eligibility and kept the fees for the check ride even when he did not conduct

one. See JA 18. But petitioner never asserts that his supervisors observed


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him find an applicant ineligible. There is therefore no reason to think that

the managing specialists witnessed him retain an examination fee from an

applicant who did not receive an examination.

      3. With respect to the investigation itself, petitioner argues (at 46)

that a remand is necessary because he never received a meeting in person

or via video. In arguing that the FAA deviated from its procedures,

petitioner does not argue that any regulations or guidelines obligated the

agency to give him a meeting in person or by video. Rather, he seizes on

statements in emails from investigators expressing plans to arrange a

meeting over Zoom. This argument cannot provide a basis for remand; is

based on a misreading of the FAA’s statements; and identifies no prejudice.

      Petitioner cannot bring a procedural challenge based on statements

from investigators because such representations do not establish “binding”

procedures that the FAA “was required strictly to observe.” Brock v.

Cathedral Bluffs Shale Oil Co., 796 F.2d 533, 539 (D.C. Cir. 1986). The

agency’s “procedural rules that limit otherwise discretionary actions,”

Steenholdt, 314 F.3d at 639, are found in preexisting “rules” or “internal

guidelines,” as those sources contain the “voluntarily adopted, binding

policies that limit its discretion,” Padula v. Webster, 822 F.2d 97, 100 (D.C.

Cir. 1987). There is no basis to conclude that the FAA intended for


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individual statements from line investigators in emails to designees to bind

the agency to follow procedures outside of its guidelines and rules. That is

all the more true here, where the statement was expressed during an

investigation, where the agency traditionally retains significant

“enforcement discretion.” See Brock, 796 F.2d at 538. Because FAA

guidelines do not require a meeting in person or by video, see generally

FAA Order 8000.95B, vol. 1, ch. 10, petitioner’s challenge fails.

      In any event, investigators did not commit to a meeting in person or

by video. In response to a request from petitioner, investigators stated that

they would “contact [him] mid next week to arrange a Zoom meeting for

possibly the following week.” JA 74. That statement is hardly binding

itself. See Padula, 822 F.2d at 100. Indeed, the statement was

“prospective,” contingent, and “impose[d] no significant restraints” on the

agency. Id. Investigators made clear that the meeting still needed to be

“arrange[d]” and only remained a “possib[ility].” JA 74. And there is no

question that investigators subsequently changed any plan to arrange a

meeting with petitioner. When petitioner followed up, investigators stated

that “[t]he investigation into the complaint is still ongoing, [and] we will

contact you to discuss once the investigation is complete.” JA 85.




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      Nor did petitioner suffer any prejudice when investigators decided

not to meet with him. He had the opportunity to speak with investigators

for hours over multiple conversations by phone, see JA 17, 20-21, and he

exchanged emails with investigators for months, see, e.g., JA 74-104, so he

had ample opportunity to share his views. Petitioner asserts (at 47) only

that his points were not coming across in writing. But this ignores the

communication by phone, and there is no basis to conclude that a video

meeting would fare better.

      4. Similarly failing to advance his case, petitioner argues (at 50) that

a remand is necessary because the FAA terminated his designation for a

reason that was different from the one that prompted his investigation. He

was investigated, he contends, “for fee practices that did not reflect

positively on the Administrator” but was terminated for “not follow[ing]

prescribed procedures regarding the order of taking fees for gain.” Pet’r.

Br. 50-52. To state these rationales is to demonstrate that they are not

materially different: they express the same basic concern with petitioner’s

fee policy for ineligible applicants. Specifically, the FAA was troubled that

petitioner was collecting fees from applicants “prior to determining

eligibility” and keeping fees when he found applicants ineligible, even




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where he “charg[ed] applicants full checkride fees” but did not conduct a

check ride. JA 18.

      Regardless, the FAA’s rules do not require it to terminate a

designation based only on the reasons that prompted an investigation. It is

well settled that “nothing in the FAA’s rules precludes [a m]anager from

basing [a renewal] determination on reasons not stated in the original

proposal of nonrenewal.” Steenholdt, 314 F.3d at 640; see also Fried v.

Hinson, 78 F.3d 688, 691 (D.C. Cir. 1996) (“Nothing in the rules precludes

the regional director from basing his determination on reasons not

described in the original proposal for non-renewal[] . . . .”). The same is

true for the FAA’s decision to rescind a pilot examiner designation.

Whatever prompted the investigation, what matters is that petitioner

ultimately received “specific reason(s) for the termination.” FAA Order

8000.95B, vol. 1, ch. 9, ¶ 4(a); JA 122.

      Petitioner’s contrary understanding must be rejected. Petitioner’s

theory would lead to the untenable result that if an investigation uncovered

additional or different wrongdoing during an investigation, the agency

would be unable to terminate a pilot examiner designation based on that

wrongdoing. Instead, the FAA takes the sensible approach of investigating




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complaints, establishing the relevant facts, and then issuing a decision

based on those facts.

      B. Beyond the purported deficiencies in the agency’s investigation

into his conduct and subsequent termination decision, petitioner argues (at

53-57) that a remand is necessary because the administrative appeal panel

violated various procedures governing his appeal. In doing so, petitioner

speculates that the panel did not review his file, deliberate on his appeal, or

meaningfully consider his arguments. But the appeal panel reviews only

“the termination for cause process” on appeal, not the substance of the

FAA’s decision. FAA Order 8000.95B, vol. 1, ch. 11, ¶ 2(b) (emphasis

added); JA 127. And none of petitioner’s challenges to that review

withstand scrutiny.

      1. Although petitioner suggests (at 54) that his administrative appeal

panel “did not consider [his] entire designee file from the Designee

Management System” in resolving his appeal, the record reflects that the

panel reviewed his file. See Doc. 30 (checking “yes” when asked “Has the

Panel reviewed the appealing Applicant/Designee’s record?”); JA 4 (basing

denial “on a review of [petitioner’s] termination for cause”). And the record

includes all the documents relevant to the “review of the termination for

cause process” on appeal, including those necessary to resolve petitioner’s


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claim that he did not receive proper notice of the reasons his designation

was terminated. FAA Order 8000.95B, vol. 1, ch. 11, ¶ 2(b); JA 7.

Petitioner provides no grounds to support his unadorned speculation that

the panel did not, in fact, examine all relevant materials in the designee

management system, other than his disagreement with the outcome.

      Any such speculation would, moreover, go against the “presumption

of regularity” that attaches to agency actions. United States v. Chemical

Found., 272 U.S. 1, 14-15 (1926). That “strong presumption of regularity in

administrative proceedings” forecloses “procedural challenges that

members of [a] body inadequately considered the issues before reaching a

final decision,” National Small Shipments Traffic Conf., Inc. v. Interstate

Commerce Comm’n, 725 F.2d 1442, 1450 (D.C. Cir. 1984), or failed to

consider relevant evidence, Morris v. Sullivan, 897 F.2d 553, 560 (D.C. Cir.

1990) (rejecting assertion that an administrative law judge did not review

submitted evidence).

      2. Petitioner argues (at 54) that the panel did not make a “record of

deliberations,” but that does not advance his case. The relevant guideline

includes the direction to “[d]ocument deliberations” alongside a direction

to “[c]ontact” certain officials “for additional information and clarification,”

thereby making clear that the procedures are sensitive to the context of the


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termination review. See FAA Order 8000.95B, vol. 1, ch. 11, ¶ 4(c); JA 128.

And although petitioner is correct that the panel did not upload into the

designee management system an attachment documenting its

deliberations, see Doc. 30, that choice was entirely appropriate here, where

the agency affirmed by summary disposition, and the agency did not need

to give further guidance to the officials whose decision was under review.

The decision not to document deliberations, in a case where those

deliberations had no independent consequence, is not the kind of

substantial noncompliance with a procedural requirement that warrants a

remand. See Sheble, 755 F.3d at 957.

      In any event, the agency’s choice not to document its deliberations

did not prejudice petitioner. Petitioner received a notice informing him of

the outcome of those deliberations: that the panel “[u]pheld the original

decision to terminate [his] designation” because it was “unable to find any

justification to overturn the termination of [his] designation.” JA 4. That

outcome would remain the same whether the panel transcribed discussions

or not.

      Petitioner asserts (at 57) that not documenting deliberations

prevented him from “provid[ing] direct evidence of the panel’s failure to

consider the entire record as required.” As explained, however, the panel


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considered his record. See Doc. 30. And again, FAA guidelines require

only that the appeal panel “document deliberations.” FAA Order 8000.95B,

ch. 11 ¶ 4c. Petitioner fails to explain how documentation showing that

there were deliberations would shed light on his claims about the record.

      3. Throughout, petitioner suggests in passing (at 54) that the appeals

process was “hollow” because the appeal panel issued a “summary

conclusion.” But petitioner identifies no FAA guideline requiring greater

explanation, foreclosing any procedural challenge on such grounds. And

even if petitioner had instead developed a challenge to the adequacy of the

agency’s explanation under the APA, but see infra 29-33, the agency’s

explanation here was sufficient under ordinary principles of administrative

law. Petitioner argued to the appeal panel that the FAA failed to provide

adequate notice of the reasons for the termination and that the FAA lacked

legitimate reasons for its decision. See JA 7. The appeal panel explained

that there was no “justification to overturn the termination of [petitioner’s]

designation,” and in doing so, adopted the very “decision to terminate

petitioner’s designation” that petitioner acknowledges included the

agency’s reasoning. See JA 4; Pet’r Br 16-19, 29-44. As “the agency’s path

may reasonably be discerned,” a remand is not necessary. Xcel Energy

Servs. Inc. v. FERC, 41 F.4th 548, 557 (D.C. Cir. 2022); see Common Cause


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v. Fed. Election Comm’n, 906 F.2d 705, 706 (D.C. Cir. 1990) (per curiam)

(equating agency decision with brief where agency “adopted the reasoning”

of the brief).

III. Petitioner’s substantive challenges to the merits of the
     FAA’s decision to rescind his designation are
     unreviewable and, in any event, meritless.

      Petitioner raises a number of challenges in his brief that go the merits

of the FAA’s decision to rescind his pilot examiner designation. But the

FAA’s decision is committed to agency discretion by law, so no review of the

merits of that decision may be had in this Court. Even considered on their

own terms, petitioner’s contentions must be rejected.

      A.1. FAA termination decisions do not receive merits review. The

FAA’s governing statute provides that it “may rescind a delegation . . . at

any time for any reason the Administrator considers appropriate,” 49

U.S.C. § 44702(d)(2), and FAA regulations likewise provide that a

designation may be terminated “[f]or any reason the Administrator

considers appropriate.” 14 C.F.R. § 183.15. “[T]his language commits the

substantive termination decision to agency discretion by law,” Fizer v. FAA,

708 F. App’x 696, 697 (D.C. Cir. 2017) (citing 5 U.S.C. § 701(a)(2)), because

it places “no constraints on the Administrator’s discretion,” Steenholdt, 314

F.3d at 639. “For any decision made by the Administrator, there will


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always be substantial evidence that the decision was made ‘at any time for

any reason.’” Id. Accordingly, this Court does not “review the substantive

merits of an FAA termination decision.” Sheble, 755 F.3d at 957.

      That is the approach that this Court has taken for two decades in

cases involving all manner of termination and all kinds of substantive

challenges. In Steenholdt, this Court held unreviewable the merits of the

FAA’s decision not to renew a designated engineering representative where

a petitioner brought a substantial-evidence challenge. 314 F.3d at 634. In

Lopez, this Court confirmed that it would not review the FAA’s renewal

decisions “on substantive grounds” even when a petitioner framed those

challenges as about whether a decision was “arbitrary and capricious” or

“an abuse of process.” 318 F.3d at 246. In Sheble, this Court recognized

that rule while reviewing the termination of a designated pilot examiner.

755 F.3d at 957. And in Fizer, though unpublished, this Court treated as

settled law the conclusion that it would not review the FAA’s substantive

merits of FAA’s decision to rescind the designation of a designated pilot

examiner. 708 F. App’x at 697.

      The conclusion that the substance of an FAA termination decision is

unreviewable on the merits is uniformly shared by the courts of appeals.

See, e.g., Bradshaw v. FAA, 8 F.4th 1215, 1221-22 (11th Cir. 2021)


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(explaining that a court may not “review the substance of the FAA’s

decision to terminate because[] . . . the FAA’s discretionary termination

decision is unreviewable”); Burdue v. FAA, 774 F.3d 1076, 1082 (6th Cir.

2014) (explaining that substantive review of a termination decision “would

not only be improper, but it would also be futile”); see also Greenwood v.

FAA, 28 F.3d 971, 974-75 (9th Cir. 1994) (explaining that the court of

appeals may not “review the merits of an FAA decision to suspend or not to

renew” a designation).

      2. Petitioner offers no good reason to depart from that rule here.

Petitioner asserts (at 28) that prior cases concerned only whether a

designee could claim a “constitutional violation[]” or challenge a “decision

not to renew [a] designation,” but that is incorrect; they also concerned

whether a designee could bring administrative challenges, Steenholdt, 314

F.3d at 639, and challenges to decisions to terminate designated pilot

examiners, see Sheble, 755 F.3d at 957; Fizer, 708 F. App’x at 697. The

reasoning of such cases plainly bars substantive review of the FAA’s

decision here, as the FAA relies on the same discretionary authority to

rescind a designation as it does when it decides not to renew a designee.

See 49 U.S.C. § 44702(d)(2) (providing that the FAA may revoke a

delegation “at any time for any reason” for any designee).


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      Failing to persuade, petitioner also argues (at 28) that this Court

should review the substantive merits of the termination decision in this

case because petitioner “was not terminated for ‘any reason;’ he was

terminated ‘for cause’ for a specific reason.” But “any reason” includes all

reasons. See Burdue, 774 F.3d at 1082 (“The fact that Burdue’s designation

was terminated ‘for cause[]’ . . . is irrelevant.”).

      In a final attempt to avoid the bar on substantive merits review,

petitioner suggests (at 30) that a court may still review the FAA’s factual

determinations underlying its termination decisions for “substantial

evidence.” This Court has rejected that argument, explaining that “there

will always be substantial evidence that the decision was made ‘at any time

for any reason,’” which is the relevant question. Steenholdt, 314 F.3d at

639. To conclude otherwise would mean that “no agency action could ever

be committed to agency discretion by law,” because all agencies rely on the

facts before them. Id.; see also Drake v. FAA, 291 F.3d 59, 71 (D.C. Cir.

2002) (holding challenge to “specific findings” to be unreviewable because

“the statute at issue gives virtually unfettered discretion to the FAA”). Such

principles apply with particularly strong force in this case, where part of the

FAA’s decision involved the agency-specific determination about how well a

designee can work constructively with the FAA. See JA 18. Congress has


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left such agency-specific determinations and discretionary decisions to the

FAA.

       B. Even assuming this Court were to consider petitioner’s

substantive arguments, those arguments fail. Petitioner challenges his

termination decision on the grounds that the FAA was wrong to conclude

that petitioner (i) committed misconduct and (ii) demonstrated an inability

to work constructively with the FAA. But each determination was

reasonable.

       1. The FAA reasonably concluded that petitioner committed

misconduct. As the agency referenced in petitioner’s termination notice,

FAA Order 8900.1, vol. 5, ch. 2, § 1, ¶ 5-220 directs an examiner to “collect

the fee and advise the applicant that the test has begun” only “[o]nce

eligibility is determined.” JA 118. Petitioner told investigators that he

collected a fee for the entire examination before determining eligibility, see

JA 21, and that the fee was non-refundable even if the applicant turned out

to be ineligible, see JA 33. Accordingly, petitioner violated guidelines to his

own gain.

       In response, petitioner emphasizes (at 32) that FAA guidelines

elsewhere state that a designee’s protocol “may be devised in any sequence

deemed appropriate.” FAA Order 8900.1, vol. 5, ch. 2, § 1, ¶ 5-219; JA 106.


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But this statement refers to the order of different portions of the

examination itself—not fees. The guidelines provide: “There is no formal

division between the oral portion and the flight portion of the practical test.

However, the majority of oral questioning occurs during the ground portion

of the test. The plan of action may be devised in any sequence deemed

appropriate by the evaluator.” FAA Order 8900.1, vol. 5, ch. 2, § 1, ¶ 5-219;

JA 106. This guidance does not concern fees or eligibility—just the order of

the test once it has begun.

      The FAA also reasonably concluded that petitioner committed

misconduct because he specifically “charg[ed] applicants full checkride fees

when no service had been provided.” JA 18. Petitioner acknowledges in

this Court that he collected payment of the fee before reviewing whether an

applicant met eligibility requirements, and if they did not, “the full fee for

the scheduled checkride was retained as a cancellation fee.” Pet’r. Br. 4-5.

As investigators explained to petitioner in multiple conversations,

“charging a full checkride fee to an individual who is not eligible . . . was

seen as unfair” because they did not receive a check ride. JA 20.

      2. The conclusion that petitioner demonstrated an inability to work

constructively with the FAA was also a reasonable one. From multiple

conversations with petitioner over the phone, investigators reported that


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petitioner was “argumentative with regards to his actions that led to the

complaint.” JA 20. They also reported that he stated that his policy was “in

place to teach a lesson to the flight instructors of the applicants.” JA 18.

This conduct alone reasonably justifies the termination of a designee.

      But petitioner also would not work with the FAA to find a way to

determine the eligibility of applicants before charging a fee. Investigators

reported petitioner was unreceptive to the FAA’s “notion that determining

eligibility for an airman prior to the checkride is effective,” JA 20, and

otherwise “unreceptive to what the FAA suggested,” JA 18. As designees

function as an extension of the FAA, such conduct may give rise to the

rescission of a pilot examiner designation.

      Petitioner posits (at 42) that he could not accept the FAA’s suggestion

to determine the eligibility of applicants in advance because FAA guidelines

require examiners to determine eligibility as part of the pre-test briefing for

the examination. FAA Order 8900.1, vol. 5, ch. 2, § 1, ¶ 5-220; JA 117-119.

At most, that guideline requires an eligibility determination on the day of

the test; it does not prohibit an examiner from reviewing eligibility

materials and working to resolve eligibility concerns before an examination.

And it has no bearing on the agency-specific determination about whether




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the FAA thinks that it can work constructively with petitioner to develop

solutions.

       Nor can petitioner succeed on a substantive challenge to the appeal

panel’s decision. The FAA’s internal guidelines only provide for “a review

of the termination for cause process.” FAA Order 8000.95B, vol. 1, ch. 11 ¶

2(b); JA 127. Petitioner presented only two arguments to the appeal panel

that his termination process violated applicable guidelines. He argued that

the FAA did not include the “specific reasons” for his termination, JA 7

(citing FAA Order 8000.95A, vol. 1, ch. 9, ¶ 4(a), (b)(1)), and that the

reasons offered were not “legitimate” to terminate him for cause, id. (citing

FAA Order 8000.95A, vol. 1, ch. 9, ¶ 4(c)). These arguments cannot

succeed; as petitioner acknowledged, his termination notice plainly

included the reasons for his termination—namely, that he committed

misconduct and demonstrated an inability to work constructively with the

FAA. See JA 18. Both qualify as reasons to terminate a designee for cause.

See JA 123. Accordingly, the panel correctly “upheld the original decision

to terminate” him. JA 3; see FAA Order 8000.95B, vol. 1, ch. 11 ¶ 2(c); JA

127.




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                              CONCLUSION

      For the foregoing reasons, the petition for review should be denied.

                                          Respectfully submitted,

                                          BRIAN M. BOYNTON
                                            Principal Deputy Assistant
                                              Attorney General

                                          ABBY C. WRIGHT

                                           /s/ Ben Lewis
                                          BEN LEWIS
                                            Attorneys, Appellate Staff
                                            Civil Division, Room 7250
                                            U.S. Department of Justice
                                            950 Pennsylvania Avenue NW
                                            Washington, DC 20530
                                            (202) 514-2494
                                            benjamin.r.lewis@usdoj.gov

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                     CERTIFICATE OF COMPLIANCE

      This brief complies with the type-volume limit of Federal Rule of

Appellate Procedure 32(a)(7)(B) because it contains 7646 words. This brief

also complies with the typeface and type-style requirements of Federal Rule

of Appellate Procedure 32(a)(5)-(6) because it was prepared using Word for

Microsoft 365 in Georgia 14-point font, a proportionally spaced typeface.



                                           /s/ Ben Lewis
                                          Ben Lewis
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                       CERTIFICATE OF SERVICE

      I hereby certify that on June 5, 2023, I electronically filed the

foregoing brief with the Clerk of the Court for the United States Court of

Appeals for the District of Columbia Circuit by using the appellate CM/ECF

system. Service will be accomplished by the appellate CM/ECF system.


                                            /s/ Ben Lewis
                                           Ben Lewis
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49 U.S.C. § 44702
§ 44702. Issuance of certificates
    (a) General authority and applications.--The Administrator of the
    Federal Aviation Administration may issue airman certificates, design
    organization certificates, type certificates, production certificates,
    airworthiness certificates, air carrier operating certificates, airport
    operating certificates, air agency certificates, and air navigation facility
    certificates under this chapter. An application for a certificate must--
       (1) be under oath when the Administrator requires; and
       (2) be in the form, contain information, and be filed and served in
       the way the Administrator prescribes.
                                      ***
    (d) Delegation.—
       (1) Subject to regulations, supervision, and review the
       Administrator may prescribe, the Administrator may delegate to a
       qualified private person, or to an employee under the supervision of
       that person, a matter related to—
           (A) the examination, testing, and inspection necessary to issue a
           certificate under this chapter; and
           (B) issuing the certificate.
       (2) The Administrator may rescind a delegation under this
       subsection at any time for any reason the Administrator considers
       appropriate.
                                      ***




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14 C.F.R. § 183.15
§ 183.15. Duration of certificates
    (a) Unless sooner terminated under paragraph (b) of this section, a
    designation as an Aviation Medical Examiner or as a Flight Standards or
    Aircraft Certification Service Designated Representative as described in
    §§ 183.21, 183.23, 183.25, 183.27, 183.29, 183.31, or 183.33 is effective
    until the expiration date shown on the document granting the
    authorization.
    (b) A designation made under this subpart terminates:
       (1) Upon the written request of the representative;
       (2) Upon the written request of the employer in any case in which
       the recommendation of the employer is required for the designation;
       (3) Upon the representative being separated from the employment
       of the employer who recommended him or her for certification;
       (4) Upon a finding by the Administrator that the representative has
       not properly performed his or her duties under the designation;
       (5) Upon the assistance of the representative being no longer needed
       by the Administrator; or
       (6) For any reason the Administrator considers appropriate.




                                     A2
